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                     together. Do you have             when you get that no, you’re okay with it        I serve today? How can I bring value
                     some time right now?              because you have so many other people            to their life today? What do they need?”
                     We can jump on                    you are helping. That’s where your focus         With Melaleuca, we have what they need.
                     Zoom, and I can                   will be. So bring on the noes.
                     actually walk you                                                                  Be in control of your
through exactly what it is that I’ve been                                                               own success!
doing and how I’ve been helping people
like you. I want you to have all the                         No just means,                             The more you do, the more you will
                                                                                                        achieve. If you’re looking to add more
information you deserve to make                            “No, not right now.”
                                                                                                        contacts, get yourself out there. The more
a well-informed decision. At the very
                                                                                                        you try, the better you’ll get at it. You
least, see what’s in it for you and explore
                                                                                                        want to be the best appointment setter
your options.”
                                                       Who can you serve today?                         you can be because that is what’s going
                                                                                                        to build your business. So commit to the
That takes all of 30 seconds for me to say.
                                                       If you want to build a successful, long-         process, even when things are not as
And guess what happens? They want
                                                       term enterprise, you don’t close a sale;         pleasant as you would want them to be.
to see what’s in it for them. They want
                                                       you open a relationship. It’s not about          Don’t confuse a speed bump for a stop
to explore their options. When you
                                                       whether you got the enrollment now.              sign. Focus on the activity and not the
make it about them, then they’re
                                                       How you build your relationship with             emotion, and that’s what will put you
paying attention.
                                                       that new contact is what will determine          in control.
Bring on the noes.                                     your outcome in building your business.
                                                                                                        Don’t allow someone else’s lack of effort
You’re also going to get people who say,               Every time I have a conversation with            to dictate your success. Maybe a new
“No, not right now,” and that’s okay.                  someone and the timing isn’t right, I’m          business partner is not getting off to a fast
I’ll say, “I totally understand. Timing                making notes—writing down where they             start. It’s okay. It’s not their time. They’re
is everything. And you know what?                      were at, where they’re going, and why            not ready to receive the information to
We’ll be in touch. We’ll continue this                 it wasn’t a good time—so I know how              move forward. Love them, respect them,
friendship. No worries.” I want them                   I can follow up.                                 and respect their wishes. In time they
to feel comfortable.                                                                                    will come around.
                                                       I do this even with my current customers.
I remember going to my very first                      For example, I have a customer in                Then set goals and take action. Show
Convention in August 1999. I was                       Tennessee who enrolled with Melaleuca            up for yourself—you deserve it! Set
a Director 8 sitting in the audience,                  back in February 2020. Every month               incremental goals. That way you see the
and Melaleuca CEO Frank VanderSloot                    I’m getting to know her a little bit more.       bigger picture and feel good about your
was speaking from stage. He asked,                     In April she shared with me that she was         accomplishments, which builds your
“Do you all want to know the difference                moving to a new home. Well, before she           confidence to keep moving forward. Then
between a Director and an Executive                    moved, I sent her a message. “I hope your        maybe Senior Director is not out of your
Director?” You could hear a pin drop.                  move is seamless and everything goes             reach after all—neither is Executive and
We were all sitting at the edge of our                 great. Enjoy your new home.” Those little        National Director. Set those goals, take
seats. And the answer he gave was,                     touches show you care—and, genuinely,            action, be consistent with that action,
“The Executive Directors have heard                    I do care. When I enroll a new customer,         and be diligent and intentional.
more noes.” And that’s when I told myself,             they’re part of my family now. When
“Okay, I’ve got this.”                                 I work with a new business partner,              Above all, believe in yourself. That’s
                                                       they’re my family.                               so important! Look in the mirror and
No just means, “No, not right now.” If you                                                              say, “I’ve got what it takes.” If you believe
have an abundant contact list, if you’re               So get out of that mentality of, “I’ve got to    in yourself, you’ll be unstoppable.
doing consistent activity and making it                get more enrollments. I’ve got to build my
a point to add 10 new contacts to your list,           business.” Instead, think, “Who can


                                                             EXHIBIT 4 - PART C

The content of this article is a small excerpt from a Virtual Convention 2020 presentation.
Each Convention is packed with practical, useful, and life-changing workshops like this. Register for
Convention 2021 so you don’t miss out on powerful trainings that will change your business and
change your life. Plus, you’ll get early pricing when you register now! Melaleuca.com/Convention
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Share the Gift of Confidence
with the Renew® Referral Pack




                                                        Help others feel the
                                                        confidence of amazing skin
                                                        with the Renew Referral Pack!
                                                        Renew is clinically proven to
                                                        hydrate and soften even the
                                                        driest skin. Share it today!




                                                        10-pack includes:
                                                        • 10 referral cards
                                                          outlining the clinical results
                                                        • 10 travel-size Renew Lotions




 To purchase the Renew Referral Pack, visit Melaleuca.com/ShareRenew.
  For more shareable information about Renew, visit RenewLotion.com.
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         The weight is
       coming off and
      I’ve completed a
        half-marathon!




“Peak Performance helped me regain control of my life.”
 “Prior to having triplets, I lost a lot of weight
 —100 pounds! When I was pregnant, my body
 weight doubled. I felt very discouraged. But I just
 knew I had to keep one leg moving in front of the                                                                                                       Visit Melaleuca.com/MacyLee
 other. And now, the weight is coming off and I’ve                                                                                                       to see her full inspirational
                                                                                                                                                         story. To see all of the
 completed a half-marathon! Through it all, there was                                                                                                    clinical results, visit
 one constant—one thing that helped me get up,                                                                                                           PeakPerformanceStudies.com.
 get moving, stay motivated, and accomplish this
 goal—it was Peak Performance.”*
   —Macy Lee Simpsonville, South Carolina


  * These statements have not been evaluated by the Food and Drug Administration. These products are not intended to diagnose, treat, cure, or prevent any disease.
                                           Color
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                                              on
                                            lock.



                                      MYRNA ATHA, USA
                                      CUSTOMER SINCE 1994



                        Don’t fade out—extend the life of your hair color and
                             boost its vibrancy with our Quinoa & Sunflower
                                      Color Lock Shampoo and Conditioner!
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Getting Started
as You Build Your Business

The first step is a click.
Starting anything new can be daunting.
Let alone a new business.

Relax...

Melaleuca makes getting started clear and
simple. Melaleuca.com/GettingStarted has
everything you need to begin building your
business. From setting goals for what you
want to achieve to helping team members
become as excited about Melaleuca as you are,
you will find it all at Getting Started. Not only
that, there are hours of valuable coaching and
encouragement from successful Marketing
Executives who once started their journey just
as you are doing today. In fact, Getting Started
will continue to be an indispensable resource at
every step of your journey.

You bring the perseverance and Getting Started
will supply the rest. No one builds alone here,
and we all celebrate success together!

Welcome to Melaleuca!




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                           R Begin my journey today!




                             R 1 Welcome to Melaleuca!                                  R 2 Discover Your Why

                             CEO Frank VanderSloot takes you on a personal tour         Digging deep and discovering your reason why you
                             of the Melaleuca store, and his passion and product        want to build a Melaleuca business is an eye-opening
                             knowledge are so inspiring and informative you’ll want     experience. Successful Marketing Executives share
                             to take notes! Marketing Executives share how it feels     how their whys fueled their achievements.
                             to live a better life on their own terms with Melaleuca.




                             R 5 Appointments & Approaches                              R 6 Earn Commissions & Bonuses

                             Sharing the life-enhancing potential of Melaleuca is       With a monthly reorder rate of 96% or above,
                             what you want to do, but how exactly do you do it?         Melaleuca offers true, reliable income. Here you’ll find
                             You’ll watch these seven videos not once but many          our Compensation Plan, our strong-start Pacesetter
                             times as you build. They are fantastic!                    Program, and 12 Marketing Executive videos on how to
                                                                                        unlock your achievement potential. Buckle up!


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                                                                                           Find these resources and more at:
                                                                                           Melaleuca.com/GettingStarted




R 3 Personal Strategy Session                          R 4 Build Your Contact List

Your first Strategy Session takes the guesswork       Melaleuca is worth sharing! Eight Marketing
out of building your business as you and your         Executives coach you on the many ways you can
enroller define your goals, detail the steps to       find and reach out to others with life-enhancing
reach them, and set your pace. It will also be the    Melaleuca. When you incorporate their wisdom and
template for all your future Strategy Sessions with   experience into your own style, you can produce
new team members as your business grows.              amazing results!




R 7 Present Effectively                                R 8 Provide Strategy Sessions

This is your moment! Shine when you share the          Here you’ll find how to develop Directors and build an
Melaleuca Overview, even when it’s your first          unstoppable team! Learn how to strategize, celebrate
time to present it! Discover QuickShare PRO            success, shift into high gear with Fast Track, and lead
presentations customized for your customer             by example with purpose and a champion mindset.
and other helpful tools.


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     NEW




                     ABedtimeStory
     FORMULA




                                 Proprietary Botanical Blend
                                   Helps you relax sooner
                                   Quick-Release Melatonin
                                 Helps you fall asleep faster
                                   Time-Release Melatonin
                                 Helps you stay asleep longer




              “The new formula made all the difference in the world for me.
I’ve been getting an absolute wonderful night’s rest for the last three months!”
                                         —Melaleuca CEO Frank VanderSloot



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O
        nce upon a time, you were getting all the sleep you needed. And you felt better
        because of it. But perhaps you’ve had a harder time getting to sleep lately.
        Maybe things like stress, a change in your schedule, or hard-to-avoid distractions
are disrupting your normal sleep pattern. As a result, there’s a yawning gulf between you
and your sweet dreams.
You’ve got to get the sleep you need! Good sleep is essential to you feeling like you
again—mentally sharp, physically energetic, and emotionally in control. Every part of
your body, from your brain to your toes, relies on you getting those Zs. That’s where new
and improved RestEZ™ enters the story.


Relax sooner with our proprietary botanical blend.                                   Fall asleep faster and stay asleep longer with
A good night’s sleep starts with getting ready for bed.                              quick-release and time-release melatonin.
That means feeling calm and relaxed. New and improved                                Did you know? When the lights go down, your
RestEZ features an updated blend of three botanicals                                 pineal gland—located in your brain—naturally begins
known for their soothing, sleep-promoting properties.                                to produce a potent hormone called melatonin. This
Each of these botanicals is included in clinically tested                            melatonin sends your body into the restful, ready-
levels for true efficacy.                                                            to-sleep mode that allows you to drift off soon after
Ashwagandha • A root extract of the Withania somnifera                               climbing into bed.
plant, ashwagandha is a revered traditional ingredient                               New RestEZ gives you a total of 5 mg of controlled-release
shown by research to help reduce occasional stress.*                                 melatonin. Forty percent of this melatonin is released
Valerian Root • Used anciently by the Greeks and                                     immediately to help you fall asleep faster. We call
Romans, valerian root (Valeriana officinalus) is thought to                          this quick-release melatonin. The rest of this melatonin
produce a calming effect on the body to help you get                                 is released gradually over a period of seven hours.
to sleep.* You may notice its distinctive, earthy smell                              We call this time-release melatonin. By entering your
when you take RestEZ!                                                                bloodstream gradually, time-release melatonin helps you
                                                                                     stay in that restful state longer into the night.*
L-theanine • L-theanine, a relaxing compound naturally
found in green tea, is thought to help reduce occasional                             So let new and improved RestEZ come to your
stress by increasing alpha activity and dopamine levels                              rescue. Go to bed feeling more restful—and sleep
in the brain.*                                                                       happily ever after!* JC



                                                                                                                                            Quick-Release &
       Ashwagandha                          Valerian Root                                         L-theanine                             Time-Release Melatonin




                           *These statements have not been evaluated by the Food and Drug Administration. This product is not intended to diagnose, treat, cure, or prevent any disease.
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Vitamin     C
    Collection
Radiant by Nature
Introducing our brand-new Vitamin C
Skin Defense Collection!
What it does
Fights the appearance of dark spots,
damage, and discoloration.

Who it’s for
Those with dull skin or anyone concerned
with dark spots and hyperpigmentation.

Main benefits
• Deeply cleanses and moisturizes dry, dull skin
• Diminishes the appearance of age spots
  and discoloration
• Neutralizes and protects against outside irritants
  and environmental damage
• Improves overall skin texture and appearance
• Balances the look and texture of the skin

 Products in collection
 1. Gentle Exfoliating Cleanser
 2. Defense & Repair Treatment Serum
 3. Daily Defense Cream
 4. Cream-to-Oil Overnight Repair
 5. Exfoliating Mask


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                                                 Our Vitamin C Collection
                                                 gets a glowing review!
                                                      “I love everything about it,
                                                        but the refreshing scent is
                                                         one of my favorite things!
                                                         It smells so good but it’s
                                                         not overpowering. I also
                                                         love that this collection has
                                                         made my skin feel smoother
                                                        while diminishing my dark
                                                     spots from sun damage. One of
                                                  my team members recently asked
                                                 me what I’ve been doing to my skin
                                                 because it’s so bright and glowy.
                                                 I used to have dry patches and stuff
                                                 like that—now they’re totally gone!
                                                 Plus, I love that this collection is
                                                 hydrating but not greasy. It’s super
                                                 light on the skin. Oh, and I adore
                                                 the fact that it’s cruelty-free.”
                                                 —National Director 9 Rachaell Ko




                                                             WANT EVEN BETTER
                                                              RESULTS? TRY THIS:
                                                               Incorporate the Deep
                                                               Marine Sea Toner into
                                                               your Vitamin C regimen
                                                              right after cleansing
                                                             morning and night.




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                          PROBIOTICS
             FOR THE WHOLE FAMILY *




     FLORIFY®                                FLORIFY®                                                     FLORIFY®
      DAILY                                    FOR                                                      DEEP IMMUNE
    PROBIOTIC                                  KIDS                                                      PROBIOTIC
  Promotes digestive              Promotes digestive and overall                                         Promotes a healthy
  and overall health*             health for kids ages 4 and up*                                          immune system*

      What’s in it?                          What’s in it?                                                    What’s in it?
  A proprietary blend with             A special blend of 7 probiotic                            A proprietary blend with L. plantarum
    7 probiotic strains and         strains and 5 billion active cultures,                         HEAL9 and L. paracasei 8700:2—
  10 billion active cultures.*          including 3 probiotic strains                              both clinically tested to promote
                                       specifically targeted for kids.*                               a healthy immune system.*
   An acid-resistant capsule
  that enables the probiotics            Comes in a kid-friendly,                               Zinc powered by Oligo® and vitamin E
to reach your lower intestine.*      easy-to-take strawberry powder.                                 for immune health support.*


When should I take it?               When should I take it?                                         When should I take it?
   Take daily all year long.             Take daily all year long.                                 Take daily, preferably along with
                                                                                                 Florify Daily Probiotic, or whenever
                                                                                                 you feel your immune system needs
                                                                                                            extra support.*




                  Save big on the Florify Family Pack!
         Visit Melaleuca.com/FlorifyFamilyPack to learn more.
                                                                       * These statements have not been evaluated by the Food and Drug Administration.
                                                                          These products are not intended to diagnose, treat, cure, or prevent any disease.
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                          Enjoy the Moment.
               EcoSense® Biodegradable Wipes make it easier
                for the whole family to enjoy time together.




      Stove tops &
                               Cabinets                Windows                      Wood
      oven hoods


                                                       Stainless steel
      Ovens                    Countertops                                          Vinyl
                                                       appliances


      Grills                   Appliances              Mirrors                      Shoes



      Outdoor furniture        Natural stone           Shower doors                 Leather



      Garage areas             Electronics




               Share your EcoSense Moment using #EcoSenseMoment!
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            THE POWER
           TO BURN FAT
              FASTER
Let’s Start with a Story                          the hand brake on the whole time. It will be
                                                  slow and harder than you thought, but if you
You have just won an all-expenses-paid            stick with it, maybe you’ll get there. Aden sits
trip to the vacation destination of your          back, content. “Why waste all of that good
choice! However, there are two stipulations       fuel in the tank?” he smiles. Most everyone
that must be met in order for you to travel.      would agree that this situation would be
The first is that you have to drive to your       terribly frustrating. Many people would likely
destination. Second, you are required to have     get so upset they would simply give up and
a representative of the company granting the      cancel the vacation altogether! Unfortunately,
vacation in the front passenger seat while you    though, this tale is all too real.
drive. Other than those two tiny obligations,
the world is your oyster.
After packing quickly, you usher the family
                                                  The Problem
into your car and meet the company represen-      Our story of Aden is exactly what happens
tative named Aden. After brief introductions,     in your body when you exercise to burn fat.           “I was curious about how
Aden signals for you to start your journey.       You’re excited to reach a goal. You begin            these squirrels burn fat on
Excited to reach your goal, you put the car       exercising. A pesky little compound called
in gear and press the gas. Just as you start to   adenosine triphosphate pulls the brake
                                                                                                       command,” Dr. Wang says,
move, though, Aden reaches over and yanks         on your body’s mechanism that burns fat.              “yet humans still put the
on the hand brake.                                Adenosine doesn’t stop the fat-burning              fat on. We have a hard time
                                                  process completely, but it slows it drastically,
You’re shocked. Who does this guy think he                                                            losing that fat. So I wanted
                                                  making it so you have to work longer and
is? You release the brake and start moving
again. Just as you’re getting up to speed, Aden
                                                  harder to burn the fat.                             to know why we can’t burn
yanks the brake a second time. Confused           But you don’t need to fight with adenosine                fat on command.”
and a bit frustrated, you repeat the process      anymore. Thanks to Dr. Larry Wang and
only to have Aden pull the brake a third time.    his years of studying hibernating ground
After several more attempts to drive with         squirrels, there is a way to minimize the
no brake, you realize you need to be content      effects of adenosine and burn fat faster.
moving very slowly toward your goal with          It’s called Access®, and it’s truly amazing.



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